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                                                                 Phone: (480) 304-8300Fax: (480) 304-8301

                                                             4   Attorneys for Dina L. Anderson, Chapter 7 Trustee

                                                             5                            IN THE UNITED STATES BANKRUPTCY COURT

                                                             6                                     FOR THE DISTRICT OF ARIZONA

                                                             7                                                      Case No. 2:16-bk-00639-DPC
                                                                  In Re:
                                                                                                                    2:16-bk-00640-DPC
                                                             8    Jason D. LeVecke and Andrea Y. LeVecke;           (Jointly Administered)
                                                             9    In re:                                            Chapter 7
Guttilla Murphy Anderson, P.C.




                                                            10    Carl D. LeVecke and Neisha N. LeVecke             SUMMARY SHEET
                           5415 E. High Street, Suite 200




                                                                           Debtors.
                                Phoenix, AZ 85054




                                                            11
                                  (480) 304-8300




                                                            12   Fees Previously Requested     $63,522.50           Applicant:    Guttilla Murphy Anderson, PC
                                                                 Fees Previously Awarded       $63,522.50           Role in Case: Attorney for Trustee
                                                            13   Expenses Previously Requested $3,366.82
                                                                 Expenses Previously Awarded    $3,366.82
                                                            14
                                                                 Fees Awarded and Paid:               $63,522.50
                                                            15   Expenses Awarded and Paid:           $3,366.82

                                                            16   Current Application:
                                                                 Fees Incurred                 $40,140.00
                                                            17   Fees Requested                $40,140.00
                                                                 Expenses Requested             $1,976.40
                                                            18   TOTAL Fees & Costs Requested: $42,116.40

                                                            19
                                                                     Professional &              Hours Billed
                                                            20      Paraprofessionals         Current Application     Effective Rate     Total for Invoice
                                                                  Ryan W. Anderson                           14.9     $300.00/hour            $4,470.00
                                                            21
                                                                  (Attorney)
                                                                  Dawn Maguire                                0.6     $325.00/hour             $195.00
                                                            22
                                                                  (Attorney)
                                                                  Alisan M.B. Patten                                  $275.00/ hour          $34,567.50
                                                            23                                              125.7
                                                                  (Attorney)
                                                                  Joanellen Campanaro                         6.4     $119.14/hour             $762.50
                                                            24
                                                                  (Paralegal)

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                                                             1    Christine Schmidt                    0.8    $150.00/hour         $120.00
                                                                  (Paralegal)
                                                             2    Cindy M. Ambrozic                    0.2      $125.00             $25.00
                                                                  (Paralegal)
                                                             3
                                                                 Trustee’s funds on hand: $21,736.10
                                                             4

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                                                             9
Guttilla Murphy Anderson, P.C.




                                                            10
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11
                                  (480) 304-8300




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                                                             1
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                                                             4   Attorneys for Dina L. Anderson, Chapter 7 Trustee

                                                             5                            IN THE UNITED STATES BANKRUPTCY COURT

                                                             6                                     FOR THE DISTRICT OF ARIZONA

                                                             7                                                     Case No. 2:16-bk-00639-DPC
                                                                  In Re:
                                                                                                                   2:16-bk-00640-DPC
                                                             8    Jason D. LeVecke and Andrea Y. LeVecke;          (Jointly Administered)
                                                             9    In re:                                           Chapter 7
Guttilla Murphy Anderson, P.C.




                                                            10    Carl D. LeVecke and Neisha N. LeVecke            SECOND AND FINAL APPLICATION
                           5415 E. High Street, Suite 200




                                                                                                                   FOR COMPENSATION AND
                                                                           Debtors.
                                Phoenix, AZ 85054




                                                            11                                                     REIMBURSEMENT OF EXPENSES
                                  (480) 304-8300




                                                                                                                   FOR COUNSEL OF TRUSTEE
                                                            12
                                                                                                                   Re: Jason and Andrea LeVecke
                                                            13                                                         Bankruptcy Estate

                                                            14                                                     TO BE NOTICED WITH TRUSTEE’S
                                                                                                                   FINAL REPORT
                                                            15

                                                            16             Guttilla Murphy Anderson, P.C., counsel for Chapter 7 Trustee, Dina L. Anderson

                                                            17   (“Trustee”), hereby makes its Second and Final Application for Compensation and Reimbursement

                                                            18   of Expenses for services rendered on behalf of the Trustee. In support of this Application, Guttilla

                                                            19   Murphy Anderson, P.C. (the “Firm”), submits its billing invoice for fees and costs incurred between

                                                            20   the period of January 1, 2017 through July 16, 2018, attached hereto as Exhibit “A”. In further

                                                            21   support of this Application, the Firm represents the following:

                                                            22

                                                            23

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                                                             1                                           BACKGROUND

                                                             2          1.     On January 25, 2016, Jason D. LeVecke and Andrea Y. LeVecke (“Debtors”) filed

                                                             3   a Voluntary Petition under Chapter 7 of the Bankruptcy Code. Thereafter, Dina L. Anderson was

                                                             4   appointed as Chapter 7 Trustee (“Trustee”).

                                                             5          2.     On February 9, 2016, the Firm filed its Application to Employ Counsel for Chapter

                                                             6   7 Trustee. The Firm’s employment as counsel was approved by Order of the Court entered on

                                                             7   February 10, 2016.

                                                             8          3.     This is the Firm’s Second and Final Application for Compensation and

                                                             9   Reimbursement of Expenses. The Firm applies for compensation in the amount of $40,140.00 and
Guttilla Murphy Anderson, P.C.




                                                            10   reimbursement of expenses in the amount of $1,976.40 for services rendered from January 1, 2017
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11   through July 16, 2018. Total compensation and reimbursement sought amounts to $42,116.40.
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                                                            12          4.     The Firm has provided Trustee with a copy of this Application. The Trustee has

                                                            13   reviewed this Application and approves the requested amount. The Trustee does not object to the

                                                            14   payment of fees requested herein.

                                                            15          5.     The hourly rates charged by professionals and paraprofessionals at the Firm were as

                                                            16   follows:

                                                            17                         Partners and Of Counsel       $300.00 - $325.00
                                                                                       Senior Associates             $275.00
                                                            18                         Associates                    $250.00
                                                                                       Law Clerks                    $125.00
                                                            19                         Paralegals                    $85.00 - $150.00

                                                            20          6.     The rates charged by the Firm are customary rates charged by comparably skilled

                                                            21   practitioners for similar services rendered in comparable bankruptcy proceedings.

                                                            22          7.     All services for which compensation is requested were performed for and on behalf

                                                            23   of the Trustee; all expenses for which reimbursement is requested were expended for and on behalf

                                                            24   of the Trustee. Compensation is sought pursuant to 11 U.S.C. §§ 330(a), 331, and 503(a) and (b),
                                                                                                             4
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                                                             1   Fed. R. Bankr. P., Rule 2016(a) and the guidelines of the Office of the United States Trustee for

                                                             2   the District of Arizona.

                                                             3          8.      Except as otherwise provided pursuant to 11 U.S.C. § 504(b)(1), the Firm has not

                                                             4   shared, nor agreed to share, compensation with any other individuals or entities.

                                                             5          9.      The Firm requests the right to supplement this Application if additional fees and

                                                             6   costs are incurred.

                                                             7                         SERVICES PERFORMED AND COSTS INCURRED

                                                             8          10.     The Firm has rendered professional services to the Trustee since the date of filing

                                                             9   the employment application. The Firm has advised the Trustee with respect to all legal matters
Guttilla Murphy Anderson, P.C.




                                                            10   relating to the administration of the estate herein, including the powers and duties of a trustee, the
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11   collection and management of property of the estate, and has prepared and assisted the Trustee in
                                  (480) 304-8300




                                                            12   the preparation of necessary applications, motions, orders and other documents as required for the

                                                            13   proper administration of this estate.

                                                            14          11.     Detailed accountings of the Firm’s services performed and costs incurred on behalf

                                                            15   of the Trustee are set forth in the invoice attached hereto as Exhibit “A”. The invoice includes a

                                                            16   “task-oriented” breakdown of services rendered and costs incurred in accordance with the United

                                                            17   States Trustee’s guidelines concerning fee applications.

                                                            18                   PROJECT SUMMARY OF LEGAL SERVICES PERFORMED

                                                            19                                    A.     CASE ADMINISTRATION

                                                            20          12.     During the Application period, the Firm was in regular communication with the

                                                            21   Trustee and interested parties and monitored, and continues to monitor, all matters concerning this

                                                            22   case. In connection with this task project category, the Firm has accrued total fees of amount of

                                                            23   $662.50, representing 2.3 total hours of labor, as set forth in Exhibit “A”.

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                                                             1                             B.   ASSET ANALYSIS AND RECOVERY

                                                             2          13.     The Firm expended substantial time assisting the Trustee in her efforts to account

                                                             3   for, and collect, the Debtors’ assets including, but not limited to, work in connection with the

                                                             4   following: (1) Addressing issues with Amsberry Trust, which eventually resulting in a settlement

                                                             5   agreement that paid $2,000.00 for the benefit of the bankruptcy estate; (2) Addressing issues with

                                                             6   respect claims against CliftonLarsonAllen LLP that resulted in $8,750.00 recovery for the benefit of

                                                             7   the bankruptcy estate; (3) Addressing issues resulting in a settlement between the Bankruptcy Estate

                                                             8   Carl’s Jr. Restaurants LLC; Carl Karcher Enterprises LLC; Hardee’s Food Systems LLC; CKE

                                                             9   Restaurants Holdings, Inc; Andrew F. Puzder; E. Michael Murphy; and Theodore Abajian which
Guttilla Murphy Anderson, P.C.




                                                            10   resulted in $5,000.00 for the benefit of the bankruptcy estate; (4)Addressing issues with respect to
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11   the Sale of the Debtors membership interest in SE Puede Estrella, LLC which resulted in a total of
                                  (480) 304-8300




                                                            12   $16,000.00 for the benefit of the bankruptcy estate; and (5) Addressing issues with respect to the

                                                            13   sale of sale of the Debtor’s a 33.3% membership interest in Venshur, LLC, which resulted in

                                                            14   $21,000.00 for the benefit of the bankruptcy estate. In connection with this task category, the Firm

                                                            15   has accrued total fees of $36,352.5, representing 135.4 hours of labor, as set forth in Exhibit “A.

                                                            16                             C.   FEE/EMPLOYMENT APPLICATIONS

                                                            17          14.     The Firm prepared and filed, on behalf of the Trustee, Trustee’s Application to

                                                            18   Employ the Firm as Counsel. The Firm has prepared this Application for Compensation and

                                                            19   Reimbursement of Expenses, and has expended considerable effort in conforming its billing

                                                            20   practices and categories to the United States Trustee’s guidelines. In connection with this task

                                                            21   category, the Firm has accrued total fees of $3,097.50, representing 10.8 hours of labor, as set forth

                                                            22   in Exhibit “A”.

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                                                             1                                            D.   TAX ISSUES

                                                             2          15.     The Firm represented Trustee in connection with tax issues concerning the

                                                             3   Bankruptcy Estate and is working with Trustee’s accountant to gather information and

                                                             4   documentation needed to assist the accountant with the scope of his duties. The Firm continues to

                                                             5   assist the Trustee and work with Trustee’s accountant in connection with this task. In connection

                                                             6   with this task project category, the Firm has accrued total fees of $27.50, representing 0.1 hours of

                                                             7   labor, as set forth in Exhibit “A”.

                                                             8                   REIMBURSEMENT FOR ACTUAL, NECESSARY EXPENSES

                                                             9          16.     The Firm has incurred total expenses of $1,976.40 on behalf of the Trustee herein.
Guttilla Murphy Anderson, P.C.




                                                            10   These expenses include photocopies, messenger services, filing fees, PACER charges, postage, and
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11   travel mileage. The Firm charges $.20 for photocopies, and $0.51 per mile for travel. All expenses
                                  (480) 304-8300




                                                            12   incurred to third parties, such as Federal Express, mail, computer research, and parking are limited

                                                            13   to the actual amount paid. All expenses are prorated where appropriate between the estate and

                                                            14   other cases.

                                                            15                                             CASE STATUS

                                                            16          17.     As of the date of this Application, the Trustee has cash on hand in the approximate

                                                            17   amount of $38,794.35.

                                                            18          18.     At this time there are not sufficient assets in this estate to allow for the immediate

                                                            19   payment of the fees requested in this application without prejudicing other administrative claims,

                                                            20   and therefore, the fees and costs herein will need to be paid upon Trustee’s closing of this case.

                                                            21                                         EVALUATING STANDARDS

                                                            22          19.     Based upon its customary hourly rates, the Firm incurred fees during the

                                                            23   Application Period totaling $40,140.00. In accordance with 11 U.S.C. § 330, this amount was

                                                            24   calculated using the hourly rate for professional and paraprofessionals involved. See also In re
                                                                                                               7
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                                                             1   Yermankov, 718 F.2d 1465, 1471 (9th Cir. 1983) (“the primary method used to determine

                                                             2   reasonable attorney’s fees in a bankruptcy case is to multiply the number of hours expended by an

                                                             3   hourly rate”). This has also been referred to as the “lodestar” or basic fee which, if warranted, can

                                                             4   be adjusted upward or downward. In that regard, the Ninth Circuit in Yermankov made specific

                                                             5   reference to Johnson v. Georgia Highway Express, Inc. 488 F.2d 713, 717-719(5th Cir. 1974), in

                                                             6   which the Firth Circuit listed twelve factors which should be considered in awarding attorneys’

                                                             7   fees in bankruptcy cases. See In re Nucorp Energy, Inc. 764 F.2d 655 (9th Cir. 1985). The Ninth

                                                             8   Circuit Bankruptcy Appellate Panel concluded that the “lodestar” approach, coupled with

                                                             9   consideration of the “Johnson factors” is the appropriate standard to be applied in awarding the
Guttilla Murphy Anderson, P.C.




                                                            10   fees in a bankruptcy case. See In re Powerine Oil Co., 71 B.R. 767 (9th Cir. 1986).
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11           In addition, the provisions of Section 330(a) place a premium on the timeliness of the
                                  (480) 304-8300




                                                            12   administration of the case. Compensable services must be “performed within a reasonable amount

                                                            13   of time commensurate with the complexity, importance and nature of the problem, issue or task

                                                            14   addressed”. 11 U.S.C. § 330(a)(3)(D). The results obtained within the time frame of this

                                                            15   Application illustrate that the Firm:

                                                            16                  a.      Possessed and used the expertise required to represent the Trustee in this

                                                            17          case;

                                                            18                  b.      Provided services necessary to the administration of this case; and,

                                                            19                  c.      Performed the services within a reasonable amount of time commensurate

                                                            20          with the complexity, importance and nature of each task.

                                                            21          Furthermore, based upon the customary compensation charged by comparably skilled

                                                            22   practitioners in non-bankruptcy cases, the results obtained within the time frame of this Application

                                                            23   and the rates charges for the services performed, the compensation requested is reasonable.

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                                                             1                                               CONCLUSION

                                                             2          Based on the foregoing, the Firm respectfully requests an order of this Court approving and

                                                             3   allowing the Firm’s administrative claim for fees and costs in the total sum of $42,116.40, to the

                                                             4   firm herein upon Trustee’s closing of this case and directing that this payment shall be subordinated

                                                             5   to the fees and expenses due to the Chapter 7 Trustee.

                                                             6          Dated this 24th day of July, 2018.

                                                             7                                        GUTTILLA MURPHY ANDERSON, P.C.

                                                             8                                        /s/ Ryan W. Anderson
                                                                                                      Ryan W. Anderson
                                                             9                                        Attorneys for the Chapter 7 Trustee
Guttilla Murphy Anderson, P.C.




                                                            10   Copy of the foregoing mailed (and emailed where indicated)
                           5415 E. High Street, Suite 200




                                                                 on July 24, 2018, to:
                                Phoenix, AZ 85054




                                                            11
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                                                            12   Andrea Y. LeVecke
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                                                                 Carl D. LeVecke
                                                            15   Neisha N. LeVecke
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                                                            Case 2:16-bk-00639-DPC        Doc 482 Filed 07/24/18 Entered 07/24/18 09:36:58   Desc
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                                                             1   Attorneys for Creditor DMS 2, LLC,
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                                                             2   HRDS Lisle IL, LLC, HRDS Roundlake IL, LLC,
                                                                 HRDS Springfield IL, LLC, CSJR Phoenix AZ LLC,
                                                             3   CSJR Longview Texas LLC, and Heritage Joliet LLC

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                                                                 William Novotny
                                                             9   Dickinson Wright PLLC
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                                                            11   Attorneys for Vestar California XXII, L.L.C.,
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                                                                 HVTC, LLC and Gilbert-Chandler Heights I, LLC
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                                                                 Justin A. Sabin
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Guttilla Murphy Anderson, P.C.




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                                                            11   Attorneys for P. Gregg Curry
                                  (480) 304-8300




                                                                 Chapter 11 Trustee in
                                                            12   In re Frontier Star, LLC, Case No. 2:15-bk-09383-EPB;
                                                                 In re Frontier Star CJ, LLC, Case No. 2:15-bk-09385;
                                                            13   In re Frontier Star 1, LLC, Case No. 2:15-bk-146670-EPB;
                                                                 In re MIH Admin Services, LLC, Case No. 2:15-14682-EPB
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                                                            18   Attorneys for Miriam Shapiro, Trustee
                                                                 Of the Miriam Shapiro Revocable
                                                            19   Trust dated August 16, 1991

                                                            20   Brad Stevens
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                                                            23   Attorneys for Cumming D. Carl's, LLC and
                                                                 LPG Grand, LLC
                                                            24
                                                                                                            12
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                                                                                           Main Document    Page 12 of 21
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